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                           UNITED STATES DISTRICT COURT
                                              for the
                                     Southern District of Illinois

CARJUAN D. ADKINS (#326167),

                       Plaintiff,

v.

RICHARD WATSON, TRINITY SERVICE GROUP
                                                              No. 3:20-cv-00986-JPG
DR. DAVID, DAVID MARCOWITZ, JOHN DOE,

                       Defendants.

CAMERON BELK, SR.,

                       Intervenor.

                           MOTION TO WITHDRAW AS COUNSEL

       NOW COMES Appointed Counsel, Edward A. Khatskin of CASSIDAY SCHADE LLP,

and for his Motion to Withdraw as Counsel, states as follows:

       1.      On September 25, 2020, Plaintiff, CARJUAN D. ADKINS, filed a pro se

Complaint asserting claims against the SHERIFF OF ST. CLAIR COUNTY, SHERIFF’S

DEPARTMENT, TRINITY SERVICE GROUP, DR. DAVID MARCOWITZ, and DR. DAVID

alleging 42 U.S.C. § 1983 claims apparently related to exposure to COVID-19 positive inmates,

denial of case for symptoms of COVID-19, and First Amendment retaliation claims against

unspecified individuals.

       2.      On January 11, 2021, the Court recruited attorney, Edward A. Khatskin, to

represent Plaintiff. [Doc. 28].

       3.      On January 29, 2021, Edward A. Khatskin filed his Entry of Appearance on

behalf of Plaintiff and simultaneously filed the instant Motion to Withdraw.
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       4.      Edward Khatskin is currently counsel for record in approximately 22 cases in

which he represents WEXFORD HEALTH SOURCES, INC. (“Wexford”) and/or it’s employee

healthcare professionals against lawsuits brought by inmates of the IDOC pursuant to § 1983. In

each of those lawsuits, the inmates allege constitutional violations in connection with the

healthcare they have received while incarcerated.

       5.      The Edward A. Khatskin’s representation in defending clients against claims

brought by prisoners pursuant to § 1983 represents the vast majority of his practice.

       6.      Wexford is a private contractor that provides healthcare services to inmate

incarcerated at facilities administered by the IDOC pursuant to a contract with the State of

Illinois, and several county detention centers. One of the facilities at which Wexford provides

healthcare services to inmates is St. Clair County Jail.

       7.      In reviewing the allegations set forth in Plaintiff’s pro se Complaint, he appears to

allege that he received inadequate medical care from Dr. David Marcowitz, a Wexford

employee.

       8.      Edward A. Khatskin has a conflict of interest that precludes him from accepting

the responsibility of representing Plaintiff in this matter. L.R. 83.11(a)(1).

       9.      Additionally, Cassiday Schade LLP, Edward A. Khatskin’s employer, has an

extensive practice of defending against inmate claims made pursuant to § 1983, thus in addition

to the actual conflict of interest that exists, personal and professional compatibility exists

between Mr. Khatskin and Plaintiff based upon the firms and Mr. Khatskin’s almost exclusive

defense of personal injury lawsuits.




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       WHEREFORE, Appointed Counsel, Edward A. Khatskin of Cassiday Schade LLP,

requests that his Appearance be withdrawn for Plaintiff, and that he be granted relief from this

particular assignment.

                                            Respectfully submitted,

                                            CASSIDAY SCHADE LLP

                                            By: /s/ Edward Khatskin
                                               One of the Attorneys for Plaintiff

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                                  CERTIFICATE OF SERVICE

          I hereby certify that on February 1, 2021, I electronically filed the foregoing Motion to

Withdraw as Counsel with the Clerk of the Court using the CM/ECF system. The electronic case

filing system sent a “Notice of E-Filing” to all attorneys of record.


                                                                        /s/ Edward   A. Khatskin

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